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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF WYOMING
______________________________________________________________________________

BLENDI CUMANI, M.D. and                             )
ROLAND SHEHU,                                       )
                                                    )
      Plaintiffs,                                   )           Case No. 23-CV-55-ABJ
                                                    )
v.                                                  )
                                                    )
CHRIS QUEEN,                                        )
                                                    )
      Defendant.                                    )


               PLAINTIFFS’ RESPONSE IN OPPOSITION TO
      DEFENDANT’S MOTION FOR SUMMARY JUDGMENT (ECF NOS. 33-35)



       The dispositive flaws in Defendant’s motion are made obvious by its “Preliminary

Statement” (ECF No. 34, at 1-2), which admits that Defendant Queen thought that “the Viles

group,” not Dr. Cumani or Mr. Shehu personally, committed over-limit and wrong-sex violations.

Such vagary was neither a particularized nor an objective basis for a “reasonable suspicion” that

Dr. Cumani or Mr. Shehu had committed an over-limit or wrong-sex violation. Defendant Queen

had no facts, within his personal knowledge or supported by reasonably trustworthy information,

that would have led a prudent person to believe there was “probable cause” that Dr. Cumani or

Mr. Shehu had committed these offenses. Moreover, Dr. Cumani or Mr. Shehu were never charged
with over-limit or wrong-sex crimes—they were prosecuted for abandoning and wasting elk—an

entirely different crime, which was also unsupported by the information Defendant Queen had.

       These facts explain why it is uncontroverted that a Park County jury acquitted Dr. Cumani,

Mr. Shehu, and their guide, Mr. Viles, after a four-day trial. They should never have been detained,

charged, or prosecuted in the first place, and doing so violated their clearly-established

constitutional rights to be free from wrongful detention and wrongful prosecution. Defendant

Queen has no immunity for such violations.

I.     SUMMARY

       On the early morning of October 27, 2019, Dr. Blendi Cumani, Mr. Roland Shehu, and

George Schnell were taken on an elk hunt by Tyler Viles, a hunting guide for Brett Richmond’s

outfitting service. Defendant’s motion refers to these four people as “the Viles group.” The four

went to hunt on the Two Dot Ranch on Heart Mountain near Cody.

       As explained below, the record in this case demonstrates—at a very minimum—that

Defendant Queen never had reasonable suspicion, reasonably trustworthy information, or probable

cause to believe that Dr. Cumani or Mr. Shehu shot, wounded, or killed the elk for which he caused

them to be prosecuted. Significantly, the record shows that Defendant Queen never determined or

specified, much less proved, which of Dr. Cumani or Mr. Shehu shot or wounded or killed which

of the elk Defendant Queen made the subject of the criminal prosecution.

       The events at issue began when outfitter Brett Richmond called Defendant Game Warden

Queen to voluntarily self-report that George Schnell had shot a bull elk while possessing a cow

elk tag. The bull had stepped in front of the cow as Mr. Schnell fired, wounding the bull. The

shot was not fatal, so Mr. Richmond’s guide, Tyler Viles, instructed Mr. Schnell to shoot again

and kill the bull. Schnell did so.



               Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                 Page 2 of 30
       Mr. Viles immediately called Mr. Richmond and reported what had happened. Mr.

Richmond immediately called Defendant Queen, who was then 2½ hours away in Sunlight Basin,

Wyoming. Although both Viles and Richmond did exactly what the law required them to do,

Defendant Queen reacted with outrage—not the reasonable demeanor required of law enforcement

officers. He screamed at Mr. Richmond on the phone about prior and unrelated hunting events

that had nothing to do with what Mr. Richmond had just reported. His outrage grew and was

repeatedly expressed throughout the day.

       As Defendant Queen drove from Sunlight Basin to the Two Dot Ranch, he spoke by phone

to his friends, Brian Peters and Heath Worstell, who were in the Heart Mountain area.

Significantly, neither Mr. Peters nor Mr. Worstell, who were Defendant Queen’s primary sources

of information, had seen either or Dr. Cumani or Mr. Shehu shoot at or wound any elk. Defendant

Queen knew that when he arrived at the Heart Mountain area.

       Defendant Queen was aggressive and combative when he talked to Tyler Viles at the scene.

He (Queen) was angry and raised his voice to Mr. Viles, claiming that there had been several prior

wrong-sex violations and that he (Queen) was going to start taking hunters’ vehicles and guns and

everything they used if it continued. Mr. Viles explained that he had never been involved in any

such violations. Mr. Viles then walked Defendant Queen through the area where the party had

hunted and the events of their hunt, and Defendant Queen remained angry and continued to refer

to prior hunting events that Queen claimed had occurred.

       Defendant Queen then met with “the Viles group.” Dr. Cumani, who is a hand surgeon in

Minot, North Dakota, told Defendant Queen that he had surgeries scheduled for the next morning

and needed to make the nine-hour drive back to North Dakota. Mr. Shehu, who operates a home

health care service in Philadelphia, had driven to Cody with Dr. Cumani and needed to leave with



              Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                Page 3 of 30
him. After being so informed, Defendant Queen ordered Dr. Cumani and Mr. Shehu not to leave,

and to go Brett Richmond’s home and stay there until they heard further from him. Defendant

Queen repeated this order several times in the presence of several people. The record shows that—

having been born into and grown up under Communist rule in Albania, and having been given a

direct order by a law enforcement officer—Dr. Cumani and Mr. Shehu did exactly as they were

ordered to do.

       In the late afternoon or early evening of October 27, 2019, Defendant Queen drove his

truck to Mr. Richmond’s house carrying the elk that he claimed were illegally shot by “the Viles

group.” Defendant Queen was still agitated and argumentative when he spoke with Mr. Richmond.

Mr. Richmond asked to look at the elk in the bed of Defendant Queen’s to examine the wounds

that Defendant Queen claimed were inflicted by “the Viles group.” Mr. Richmond could see one

of the elk from the position where he and Defendant Queen were talking and the foreleg wound

that Defendant Queen claimed was a gunshot wound appeared to Mr. Richmond to be one that he

had seen many times—a “wire cut” which is a scraping, flesh wound caused by a wire fence. Mr.

Richmond asked Defendant Queen to allow him to look at the second elk and Defendant Queen

refused.

       Defendant Queen then spoke with Dr. Cumani and Mr. Shehu who reiterated that they

needed to leave. Defendant Queen apologized for detaining them, told them they did not shoot the

elk, and released them.

       Defendant Queen went back to the Heart Mountain area the next day, walked the area, took

pictures, and retrieved bullet fragments from (according to Queen) two different elk than those

that had been in the bed of his truck at Mr. Richmond’s house the previous day. Significantly,

Defendant Queen sent the bullet fragments to the Wyoming Division of Criminal Investigation,



                 Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                   Page 4 of 30
whose ballistics expert concluded that the bullets could not reliably be identified to the guns used

by Dr. Cumani and Mr. Shehu.

       Thereafter, Defendant Queen prepared a “probable cause affidavit” and Dr. Cumani and

Mr. Shehu were charged and prosecuted—not for the wrong-sex and over-limit violations that had

been the subject of all of the events of October 27, 2019—but for abandoning and wasting the elk

that Defendant Queen claims to have found on October 28, 2019. Defendant Queen caused the

criminal prosecutions to go forward despite the fact that—even to date—Defendant Queen has not

determined and cannot say which of Dr. Cumani or Mr. Shehu shot or wounded or killed which of

the four elk that were the subjects of the prosecutions.

       In sum, the record demonstrates that Defendant Queen had neither reasonable suspicion to

detain Dr. Cumani and Mr. Shehu in the first instance, nor probable cause to initiate their

prosecutions (nor that of Mr. Viles) for abandoning and wasting game animals in violation of W.S.

§ 23-3-303(a). Instead, the record contains evidence which shows that Defendant Queen was

predisposed, based on a vindictive and retaliatory motive, to attempt to vicariously punish Mr.

Richmond by criminally charging “the Viles group.” But, of course, “the Viles group” could not

charged with a crime, so Dr. Cumani, Mr. Shehu, and Mr. Viles were—despite the absence of

evidence as to which of them, if any of them, had committed any criminal act. Defendant Queen

never reasonably investigated other hunters who were admittedly in the area at the time, including

George Schnell, who had admitted the wrong-sex violation.

       Defendant Queen has no immunity, qualified or otherwise, for these actions. At the time

of these events, Dr. Cumani and Mr. Shehu had clearly and long-established constitutional rights

under Tenth Circuit law to be free from being detained without reasonable suspicion, and from




               Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                 Page 5 of 30
being arrested and prosecuted without probable cause. Here, neither existed. Defendant Queen’s

motion should be denied.

II.     PENDING DISCOVERY MOTION CONSEQUENTIAL FOR THIS MOTION

        Defendant’s motion tries to deflect Defendant Queen’s liability by attributing numerous

decisions and actions to the Park County Attorney. (See ECF No. 34, at pp. 3, 8, 21, 31)

        Anticipating this attempt, on January 8, 2024, Plaintiffs served a subpoena duces tecum to

the Park County Attorney for its file. (ECF No. 25). The Park County Attorney moved to quash

the subpoena (ECF No. 27) and has produced nothing. Plaintiffs responded to Park County’s

motion. (ECF No. 28). Park County replied (ECF No. 29). The motion is pending.

III.    FACTS IN THE RECORD

        1.     Tyler Viles was a hunting guide for licensed outfitter Brett Richmond and was

guiding Dr. Cumani, Mr. Shehu, and Mr. George Schnell on October 27, 2019. (Exhibit 1, Viles

deposition transcript, at 9:2-7; 38:1-5)

        2.     On the hunt, Mr. Schnell shot a bull elk on a cow elk tag when the bull stepped in

front of a cow elk as Mr. Schnell fired. The shot did not kill the bull, so Mr. Viles properly

instructed Mr. Schnell to shoot again and kill the bull, and Mr. Schnell did so. (Exhibit 2, Queen

transcript of telephone interview with Schnell, at CUMANI-SHEHU 0044)

        3.     Mr. Viles stopped the hunt as soon as Mr. Schell shot the bull. (Exhibit 1, Viles

deposition transcript, at 48:25-49:11)

        4.     Within a minute of when Mr. Schnell shot the bull, Mr. Viles called Mr. Richmond

and reported it. (Exhibit 1, at 50:23-51:15; Exhibit 3; Richmond deposition transcript, at 36:14-

37:1)




               Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                 Page 6 of 30
         5.     At 8:03 a.m., Mr. Richmond called Defendant Queen and reported that Mr. Schnell

had shot a bull elk on a cow tag. (Exhibit 3, Richmond deposition transcript, at 36:14-37:12; 39:1-

10; 44:13-19)

         6.     Mr. Richmond and Mr. Viles took the legally-proper action in reporting the killing

of the bull elk to Defendant Queen. (Exhibit 8, at 129:13-132:14)

         7.     When Mr. Richmond reported that Mr. Schell had shot a bull, Defendant Queen

was heated, screaming, and went nuts on the phone. (Exhibit 3, at 44:20-45:4; 46:3-7; 70:13-15)

         8.     Defendant Queen told Mr. Richmond that he (Queen) had just gotten off the phone

with Brian Peters, that Mr. Peters told him (Queen) that Richmond’s hunters had “wounded a

whole bunch of elk,” and that “somebody was gonna have to pay for it” (Exhibit 3, at 69:8-70:1;

71:18-72:8), but Defendant Queen testified that Mr. Peters did not tell him that he (Peters) saw

either Dr. Cumani or Mr. Shehu shoot any elk. (Exhibit 8, Queen deposition transcript, at 119:24-

120:6)

         A.   Mr. Peters was two miles away from where the Viles group was hunting. (Exhibit 8,

              at 155:24-157:14)

         B.   Mr. Peters does not get along with Mr. Richmond or the people in his outfitting

              service. (Exhibit 8, at 162:15-163:12)

         C.   Mr. Peters does not remember telling Defendant Queen that Dr. Cumani or Mr. Shehu

              shoot or wound a bull elk or cow elk (Exhibit 4, Peters deposition transcript at 9:13-

              11:4); he admits that he did not see Dr. Cumani or Mr. Shehu shoot at or wound a

              bull elk or cow elk (Exhibit 4, at 6:23-7:13; 8:2-13: 12:18-13:11); and he has never

              believed that Dr. Cumani or Mr. Shehu wounded or abandoned a bull elk or cow elk

              that day. (Exhibit 4, 19:23-20:23)



                Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                  Page 7 of 30
       D.   Mr. Peters told Defendant Queen that Heath Worstell was in the area where the Viles

            group was hunting. (Exhibit 8, at 191:25-192:2). Mr. Peters told Defendant Queen

            that he could not see any hunters, but that Heath Worstell was in the area because he

            saw Mr. Worstell’s truck. (Exhibit 8, at 158:8-24)

       E.   While Defendant Queen was enroute from Sunlight Basin to the corrals, he called

            Heath Worstell, who Mr. Peters had said was in the Heart Mountain area. (Exhibit

            8, Queen deposition transcript, at 120:9-122:4: 144:16-21; 146:1-5)

       F.   When Defendant Queen spoke to Mr. Worstell, Mr. Worstell was a mile away from

            where the Viles group was hunting and had no line of sight to the Viles group’s

            location. Exhibit 8, at 123:5-14).

       G.   Mr. Worstell admits that he did not see Dr. Cumani or Mr. Shehu shoot or wound any

            elk (Exhibit 5, Worstell deposition transcript, at 28:3-11; 29:5-22) and he did not tell

            Defendant Queen that Dr. Cumani or Mr. Shehu that he saw Dr. Cumani or Mr. Shehu

            shoot or wound any elk (Exhibit 5, at 32:2-15; 32:23-33:7; 36:19-37:9; 45:11-46:4).

       H.   Mr. Worstell has considered Defendant Queen to be a friend for six or seven years

            (Exhibit 5, at 16:8-14) since they have coached together on their sons’ baseball team,

            (Exhibit 5, at 16:12-4), while socializing and as a guest in Defendant Queen’s house

            (Exhibit 5, at 16:15-17:20), but Defendant Queen does not consider Mr. Worstell to

            be a friend. (Exhibit 8, at 121:16-122:6; 122:17-18)

       9.     Mr. Richmond waited until Defendant Queen calmed down then asked Defendant

Queen what should be done with the bull elk. (Exhibit 3, at 45:2-19; 46:8-23; 70:7-12)




              Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                Page 8 of 30
         10.   Defendant Queen told Mr. Richmond to have Mr. Viles cut up the bull elk, then

meet him at a location called the “corrals” (Id.) once he (Queen) drove from the 2-2½ hours from

Sunlight Basin. (Exhibit 8, at 120:23-121:15)

         11.   Mr. Richmond then called Mr. Viles, told him to set up a spotting scope, and that

he (Richmond) would come to the hunting area so they could watch Defendant Queen when he

arrived. (Exhibit 3, at 65:4-12)

         12.   Shortly after Mr. Richmond and Mr. Viles spoke, Mr. Viles called Defendant

Queen to explain what happened. Defendant Queen was upset, raised his voice, was very

animated, and yelled at Mr. Viles, stating that this was the third bull killed on a cow tag that fall.

(Exhibit 1, at 52:8-53:8)

         13.   Mr. Richmond drove to the corrals and, at about 9:00 a.m., talked again to

Defendant Queen, this time from Mr. Viles’ phone. (Exhibit 3, at 73:20-22; 47:6-49:8)

         14.   Defendant Queen was “pretty wound up” during the 9:00 call and told Mr.

Richmond that he was going to detain Dr. Cumani, Mr. Shehu, and Mr. Schnell; and that they

should stay at the corrals or go to Mr. Richmond’s house. (Exhibit 3, at 48:5-49:8; 40:12-25;

41:13-18)

         15.   When Defendant Queen arrived at the corrals, he (Queen) was very angry, very

combative, and very aggressive about prior situations in which hunters with cow tags had shot

bulls. Mr. Viles explained that he had not been party to any prior violations. (Exhibit 1, at 55:4-

58:13)

         16.   When Defendant Queen spoke to Dr. Cumani and Mr. Shehu at the corrals,

Defendant Queen was very agitated, irritated, demanding, animated, very angry, and upset;

Defendant Queen told them that the “conservancy guy” told him (Queen) that “you guys wounded



               Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                 Page 9 of 30
the elk.” (Exhibit 6, Deposition transcript of Blendi Cumani, M.D., at 42:18-45:4; Exhibit 7,

Deposition transcript of Roland Shehu, at 56:9-57:22).

       17.     Dr. Cumani told Defendant Queen that he (Dr. Cumani) was leaving and going to

North Dakota, and Defendant Queen said, “No, you’re not. You’re going to Richmond’s house.

You’re not to leave Richmond’s house.” (Exhibit 6, at 45:24-46:10; Exhibit 7, at 57:15-22; Exhibit

1, at 60:2-61:13)

       18.     Dr. Cumani and Mr. Shehu did as they were told because a law enforcement official

told them they were not to leave (Exhibit 1, at 62:18-21) because, in Mr. Shehu’s words, having

grown up in Albania, a communist country (Exhibit 6, at 5:2-19; Exhibit 7, at 8:15-24):

       Well, I come from a communist country. I was born and raised until the age of 17,
       and we were oppressed. My family was oppressed. And I felt the same way when
       Queen told me not to move, obey him and stay to Richmond's house. So it brought
       back my childhood memories when my uncle was taken to jail because he opposed
       the communism, when my father wasn't allowed to see him and not a thing
       happened to my family. Those memories, you know, it's not easy to go away. I just
       need a trigger to remember those. And it's -- it's a scar you cannot take it away.

(Exhibit 7, at 92:25-93:9)

       19.     In the early evening of October 27, Defendant Queen went to Mr. Richmond’s

house (Exhibit 8, at 8:10-9:22), started trying to poke Mr. Richmond in the chest, and told

Richmond that he had better get a lawyer and a good one because he will need it. (Exhibit 3, at

60:15-19; Exhibit 1, at 81:12-82:8)

       20.     At that time, Defendant Queen had dead elk in the back of his truck (Exhibit 1, at

83:21-84:6), including one bull and one cow (Exhibit 8, at 54:19-55:3). Mr. Richmond looked at

the wounds on one of the elk that Defendant Queen said the Viles group had shot and recognized

the scraping as a wire cut of the type that occurs from fences; Defendant Queen would not allow




              Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                Page 10 of 30
Mr. Richmond to look at the wound on a second elk. (Exhibit 3, at 41: 1-7; 54:12-55:13; Exhibit

1, at 83:21-84:24)

       21.     At about 7:00-7:30 p.m., after Defendant Queen had spoken to Mr. Richmond,

Defendant Queen told Dr. Cumani that “everything was okay and he (Queen) was sorry to have

held them up” and they could leave. (Exhibit 6, at 55:3-56:17; Exhibit 7, at 60:22-25).

       22.     Defendant Queen told Mr. Shehu, “Yes, I’m sorry to have detained you here.

You’re free to go. You did not shoot these elk.” (Exhibit 7, Deposition transcript of Mr. Shehu,

at 78:10-25)

       23.     On October 28, 2019, Defendant Queen went to the Heart Mountain area, took

photos, and collected physical evidence, including bullet fragments from a dead elk (See,

generally, ECF No. 35-16), which he (Queen) says was not the elk that was in the back of his truck

on October 27 at Mr. Richmond’s house, which he had told Mr. Richmond was one of the elk that

Dr. Cumani and Mr. Shehu had wounded. (Exhibit 3, at 54:12-55:15; Exhibit 8, at 136:19-137:4)

       24.     Defendant Queen sent the bullet fragments to the State of Wyoming Division of

Criminal Investigation, where ballistics expert, Special Agent Darrell Steward, examined the

bullets, read related ballistics literature, and concluded that the evidence was “not enough [] to

make a confident identification of the bullet fragment recovered from the elk” to the guns used by

Dr. Cumani and Mr. Shehu. (Exhibit 9, Report of Wyoming Division of Criminal Investigation,

CUMANI-SHEHU 0112-0113, at 0113)

       25.     The only effort Defendant Queen made to investigate whether there were other

hunters within a one-mile radius of the events described above was to interview Heath Worstell

and Brian Peters (Exhibit 8, at 118:14-21) and Defendant Queen only spoke to Mr. Worstell on

the phone while he (Queen) was driving from Sunlight Basin. (Exhibit 8, at 120:9-24)



               Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                 Page 11 of 30
       26.     Heath Worstell’s spouse and son had cow elk tags for the hunting area where the

foregoing events occurred (Exhibit 5, at 47:23-48:4) but Defendant Queen never inspected their

guns. (Exhibit 8, at 159:2-160:8)

       27.     Kade Fitzgerald was also hunting in the area. Defendant Queen spoke to him on

the phone and asked him if he had shot his gun. Mr. Fitzgerald said no and Defendant Queen took

that at face value. (Exhibit 8, at 124:7-8; 192:3-23)

       28.     Defendant Queen is now unsure whether Dr. Cumani and Mr. Shehu were charged

with waste and abandonment of the elk that were in the back of his truck when he went to Mr.

Richmond’s house on October 27, 2019. (Exhibit 8, at 75:7-20)

       29.     Defendant Queen does not know which of Dr. Cumani or Mr. Shehu shot which of

the elk that both were charged with having abandoned and wasted, or whether either of the elk was

within the herd that “the Viles group” was hunting. (Exhibit 8, at 85:6-86:6)

       30.     Defendant Queen has no physical evidence, no eyewitness evidence, and no hearsay

evidence that Mr. Shehu shot either of the elk that he (Queen) found on October 28, and no

eyewitness evidence or hearsay evidence that Dr. Cumani shot either of the elk that he (Queen)

found on October 28, with the only physical evidence being the bullet fragment that the Division

of Criminal Investigation could not identify to either Dr. Cumani’s or Mr. Shehu’s guns. (Exhibit

8, at 87:14-89:8; 86:7-87:10)

       31.     Despite the exculpatory ballistics evidence, the lack of eyewitness evidence, the

lack of hearsay evidence, the lack of investigation of other hunters, and the specific representations

of Defendant Queen to both Dr. Cumani and Mr. Shehu on the early evening of October 27, 2019,

in January 2020, Defendant Queen executed an Affidavit of Probable Cause and caused Dr.

Cumani and Mr. Shehu to be prosecuted. (ECF No. 35-17)



               Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                 Page 12 of 30
         32.     In January of February 2020, Defendant Queen called Dr. Cumani and Mr. Shehu

and told them he was going to serving criminal citations to them. (Exhibit 6, at 58:1-22; Exhibit

7, at 83:3-84:20)

IV.      RESPONSE TO DEFENDANT’S STATEMENT OF FACTS

         1-4.    Not disputed.     The facts prove one element under 42 U.S.C. § 1983—that

Defendant Queen was acting under color of law at the time of the events alleged in this action.

         5-6.    These are statements of Wyoming law. The statutes speak for themselves.

         7.      Not disputed. This is a further fact that proves the “color of law” element of 42

U.S.C. § 1983.

         8.      Not disputed that Mr. Richmond is a licensed outfitter with permission to hunt on

the Two Dot Ranch and that Tyler Viles was a guide for Mr. Richmond at the time of the events

alleged. The statement that Mr. Richmond’s hunting parties are known as the “Two Dot Guys” is

hearsay, lacks foundation, and is irrelevant.

         9.      Not disputed.

         10.     Disputed. These statements are hearsay, lack foundation, and are contrary to the

testimony of Tyler Viles cited in Fact #15 above.

         11.     Not disputed that Brian Peters was the manager of The Nature Conservancy Ranch

at the time of the events alleged in the complaint and had contact with Defendant Queen. Mr.

Peters had animosity toward Mr. Richmond and his outfitting company as set forth in Fact #8(b)

above.

         12.     Undisputed.

         13.     Not disputed, but incomplete. See Fact #s 7-10 above.

         14.     Not disputed, but incomplete. See Fact #s 8(A)-(E) above.



                Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                  Page 13 of 30
        15.    Disputed. Inadmissible hearsay. Mr. Peters had no line of sight to the Viles group.

See Fact #8(A), 8(D) above.

        16.    Disputed. Lacks foundation. Inadmissible hearsay. Unsupported in record and

irrelevant.

        17.    Not disputed.

        18.    Not disputed, but incomplete. See Fact #12 above.

        19.    Disputed. Lacks foundation. Incomplete and omits that Defendant Queen was

angry, combative, aggressive, screaming, and agitated about the prior events referenced in ECF

No. 34 at ¶ 10 and Fact #s 7-8, 12-16 above, for which he and Mr. Peters wrongfully blamed Mr.

Richmond.

        20.    Not disputed that Defendant Queen prepared a report. Inadmissible hearsay as to

any statements or requests made by the Park County Attorney, who has refused to produce any

documents in response to subpoena. See Section II above re: Pending Discovery Motion.

        21.    Disputed. See Fact #s 14, 16, 18, 21, 22 and Complaint.

        22.    Disputed. Lacks foundation. Inadmissible hearsay.

        23.    Disputed. Unsupported in record.

        24.    Disputed. Inadmissible hearsay. Mr. Worstell had no line of sight to the Viles

group. Fact #8(F). Mr. Worstell testified that he did not see Dr. Cumani or Mr. Shehu shooting

and that he could not identify anyone in the group. See Fact #s 8(G)-(H).

        25.    Disputed. Inadmissible hearsay. Unsupported in record. Contrary to Fact #8(G).

        26.    Disputed. Inadmissible hearsay. Lacks foundation. Unsupported in record and

irrelevant as to Defendant Queen’s subjective belief.

        27.    Disputed. Inadmissible hearsay. Lacks foundation.



              Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                Page 14 of 30
       28.       Not disputed as to hunting licenses observed. Disputed, inadmissible hearsay as to

Mr. Schnell.

       29.       Not disputed as to numbers recorded. Disputed as to Defendant Queen’s subjective

state of mind.

       30.       Disputed. Contains numerous inadmissible hearsay statements and is argument,

not evidence in record as required under Rule 56.

       31.       Disputed. Irrelevant as to Defendant Queen’s subjective state of mind based on

inadmissible hearsay by Peters.

       32.       Disputed. Inadmissible hearsay. Contrary to Fact #s7, 10, 12, 14-18.

       33.       Not disputed that Dr. Cumani and Mr. Shehu were ordered to go to Mr. Richmond’s

house and not leave. Irrelevant as to Defendant Queen’s subjective state of mind and to seizing

evidence. Undisputed that Defendant Queen did not draw weapon or use handcuffs.

       34.       Undisputed as to visit to hunting area. Disputed as to hearsay statements by

Fitzgerald.

       35.       Disputed. Contrary to Fact #s 16-17.

       36.       Undisputed as to meeting Mr. Peters. Disputed and irrelevant as to Defendant

Queen’s subjective state of mind.

       37.       Disputed. Lacks foundation as to observation by third person, Mr. Peters.

       38.       Disputed. Lacks foundation as to unobserved route of travel by elk.

       39.       Undisputed as to observations of cow elk.             Lacks foundation as to physical

condition of elk, elk thought processes, elk behavior.

       40.       Undisputed that Defendant Queen killed cow elk. Disputed as to Defendant

Queen’s subjective state of mind for doing so.



                 Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                   Page 15 of 30
        41.     Undisputed that Defendant Queen looked at elk. Disputed for lack of veterinary

pathology foundation as to description and cause of injuries and Defendant Queen’s subjective

opinions.

        42.     Disputed as to Defendant Queen’s subjective state of mind. Undisputed that

Defendant Queen killed bull elk. Undisputed that Mr. Richmond testified under oath that he

observed Defendant Queen shoot and kill the bull elk and the bull elk was uninjured when

Defendant Queen shot the elk.

        43.     Undisputed that Defendant Queen testified that he did not find bullets in the bull

elk that he killed.

        44.     Undisputed but irrelevant.

        45.     Undisputed.

        46.     Undisputed but irrelevant.

        47.     Undisputed that Defendant Queen arrived at Mr. Richmond’s house with elk in bed

of his truck.

        48.     Undisputed but incomplete. See Fact #s 19-20.

        49.     Undisputed that Defendant Queen spoke to Dr. Cumani and Mr. Shehu, but

incomplete. See Fact #s 21-22.

        50.     Disputed and irrelevant as to Defendant Queen’s subjective state of mind.

        51.     Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30.




                Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                  Page 16 of 30
       52.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30.

       53.    Disputed. Lacks foundation.

       54.    Disputed. Irrelevant because Defendant Queen has no evidence as to whether Dr.

Cumani or Mr. Shehu shot or wounded either of the elk Defendant Queen reports to have found.

See Fact #s 28-30. Irrelevant as to Defendant Queen’s subjective state of mind and conclusions.

       55.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30.

       56.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30.

       57.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30. Irrelevant

as to Defendant Queen’s subjective state of mind.

       58.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30. Irrelevant

as to Defendant Queen’s subjective state of mind.

       59.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or



              Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                Page 17 of 30
wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30. Irrelevant

as to Defendant Queen’s subjective state of mind.

       60.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30. Irrelevant

as to Defendant Queen’s subjective state of mind.

       61.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30. Irrelevant

as to Defendant Queen’s subjective state of mind.

       62.    Disputed.     Lacks veterinary pathology foundation as to necropsy.             Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30.

       63.    Undisputed that Defendant Queen collected bullet fragments. Incomplete because

Wyoming Division of Criminal Investigation concluded that bullet fragments could not be

identified to guns being used by Dr. Cumani and Mr. Shehu.

       64.    Disputed.     Lacks veterinary pathology foundation as to necropsy.             Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30. Speculative

and lacks foundation as to scavenging.

       65.    Disputed.     Lacks veterinary pathology foundation as to necropsy.             Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30.



              Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                Page 18 of 30
       66.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30. Irrelevant

as to Defendant Queen’s subjective state of mind.

       67.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30. Irrelevant

as to Defendant Queen’s subjective state of mind.

       68.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30. Undisputed

that Defendant Queen collected metal. Incomplete because Wyoming Division of Criminal

Investigation concluded that bullet fragments could not be identified to guns being used by Dr.

Cumani and Mr. Shehu.

       69.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30. Undisputed

that Defendant Queen collected metal. Incomplete because Wyoming Division of Criminal

Investigation concluded that bullet fragments could not be identified to guns being used by Dr.

Cumani and Mr. Shehu.

       70.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30. Undisputed



              Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                Page 19 of 30
that Defendant Queen collected metal. Incomplete because Wyoming Division of Criminal

Investigation concluded that bullet fragments could not be identified to guns being used by Dr.

Cumani and Mr. Shehu. Irrelevant as to Defendant Queen’s subjective state of mind.

       71.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30. Undisputed

that Defendant Queen collected metal. Incomplete because Wyoming Division of Criminal

Investigation concluded that bullet fragments could not be identified to guns being used by Dr.

Cumani and Mr. Shehu.

       72.    Disputed as incomplete and inadmissible hearsay. See Exhibit 2.

       73.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30.

       74.    Undisputed as to Defendant Queen’s conduct observed by no one. Irrelevant

because Defendant Queen has no evidence as to whether Dr. Cumani or Mr. Shehu shot or

wounded either of the elk Defendant Queen reports to have found. See Fact #s 28-30. Irrelevant

as to Defendant Queen’s subjective state of mind.

       75.    Disputed. Defendant Queen’s report is dated October 31, 2019 (ECF No. 35-16).

Park County Attorney has refused to provide documents. See Section II re: pending motion.

       76.    Disputed. Inadmissible hearsay as to request of Park County Attorney. Lacks

foundation as to production of Affidavit of Probable Cause.

       77.    Disputed. Inadmissible hearsay.

V.     LAW RE: WRONGFUL ARREST, DETENTION AND PROSECUTION



              Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                Page 20 of 30
       The Tenth Circuit recognizes § 1983 claims for wrongful arrest and wrongful prosecution.

Wolford v. Lasater, 78 F.3d 484 (10th Cir. 1996); Cottrell v. City of Kaysville, 994 F.2d 730 (10th

Cir. 1993); Anthony v. Baker, 955 F.2d 1395 (10th Cir. 1992); Robinson v. Maruffi, 895 F.2d 649

(10th Cir. 1990).

       Wrongful arrest is actionable under 42 U.S.C. § 1983 where a plaintiff shows that he was

arrested without probable cause. Cottrell v. Kaysville City, 994 F.2d 730, 733 (10th Cir.

1993). Probable cause is determined by an objective standard—whether the facts within the

officers' knowledge and of which they have reasonably trustworthy information are sufficient to

warrant a person of reasonable caution to believe that an offense has been or is being committed

and that the person was involved in the crime. Patel v. Hall, 849 F.3d 970, 981 (10th Cir. 2017).

The court considers "the circumstances as they would have appeared to prudent, cautious and

trained police officers." United States v. Davis, 197 F.3d 1048, 1051 (10th Cir. 1999).

       Malicious prosecution is actionable under 42 U.S.C. § 1983 where a law enforcement

officer’s actions cause the plaintiff to be ‘seized’ without probable cause. Myers v. Koopman,

738 F. 3d 1190, 1194 (10th Cir. 2013). The elements of malicious prosecution under a §

1983 claim are: (1) the defendant caused the plaintiff's continued confinement or prosecution; (2)

the original action terminated in favor of the plaintiff; (3) there was no probable cause to support

the original arrest, continued confinement, or prosecution; (4) the plaintiff sustained damages. Id.

The gravamen of the claim is the wrongful initiation of charges without probable cause. Thompson

v. Clark, 596 U.S. 36 (2021).

       A law enforcement officer does not have qualified immunity in a § 1983 case when an

arrest and prosecution violates clearly established constitutional rights. Mullenix v. Luna, 577 U.S.

7 (2015). The right to be free from a warrantless detention and arrest without probable cause is a



               Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                 Page 21 of 30
clearly established Fourth Amendment constitutional right in the Tenth Circuit. Olsen v. Layton

Hills Mall, 312 F.3d 1304, 1312 (10th Cir. 2002). The right to be free from a wrongful prosecution

is a clearly established right in the Tenth Circuit. Miller v. Spiers, 339 F. App'x 862, 867 (10th

Cir. 2009) (malicious prosecution violates the Fourth and Fourteenth Amendment); See

also, Novitsky v. City of Aurora, 491 F.3d 1244, 1258 (10th Cir.2007) (malicious prosecution

claim can be grounded in both the Fourth and Fourteenth Amendments); Pierce v. Gilchrist, 359

F.3d 1279, 1285-86 (10th Cir.2004) ("The initial seizure is governed by the Fourth Amendment,

but at some point after arrest, and certainly by the time of trial, constitutional analysis shifts to

the Due Process Clause.")).

       Summary judgment is proper only if the record shows that there is no genuine issue as to

any material fact and the moving party is entitled to judgment as a matter of law, viewing all of

the evidence and reasonable inferences in the light most favorable to the nonmoving party. An

issue is genuine if there is sufficient evidence on each side so that a rational trier of fact could

resolve the issue either way. An issue of fact is material if under the substantive law it is essential

to the proper disposition of the claim. Sperry v. Maes, 592 Fed. Appx. 688 (10th Cir. 2014)

       There are three types of law enforcement contacts: (1) consensual encounters (2)

investigative detentions, which are Fourth Amendment seizures that must be supported by a

reasonable suspicion of criminal activity; and (3) arrests that must supported by probable

cause." United States v. Hammond, 890 F.3d 901, 904 (10th Cir. 2018). The distinction between

an investigative detention and an arrest is a fact-intensive inquiry based on the length and force of

the detention, Cortez v. McCauley, 478 1108, 1115 (10th Cir. 2007), and the necessity and length

of detention needed to accomplish the purposes of law enforcement. United States v. Sharpe, 470

U.S. 675, 685 (1985)



               Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                 Page 22 of 30
V.     ANALYSIS

1.     There is no Qualified Immunity for Defendant Queen’s Wrongful Detention/Arrest.

       As shown above, Tenth Circuit law makes clear that, as of October 27, 2019, Dr. Cumani

and Mr. Shehu had clearly-established constitutional rights under at least the Fourth Amendment

to be free from wrongful detentions, wrongful arrests, and wrongful prosecutions.             Thus,

Defendant Queen has no immunity, qualified or otherwise.

       Equally unavailing is Defendant Queen’s attempt to split hairs by arguing that he had

“reasonable suspicion” to believe that crimes had been committed and that Dr. Cumani and Mr.

Shehu were the perpetrators.

       As of 9:00 a.m. on October 27, 2019, the only crime of which Defendant Queen had any

knowledge was the wrong-sex kill that Mr. Richmond and Mr. Viles had voluntarily reported to

him. It was at that time that Defendant Queen first ordered that Dr. Cumani and Mr. Shehu must

go to Mr. Richmond’s house and stay there until he (Queen) said otherwise. And, at that time,

Defendant Queen did not have “reasonable suspicion” of anything other than that he was enraged

by his unfounded belief that this was the third or fourth time during the 2019 hunting season that

Mr. Richmond’s hunters had made wrong-sex kills. Defendant Queen had exhibited that rage to

both Mr. Richmond and Mr. Viles by that time—and George Schnell had already admitted that it

was he who made the wrong-sex kill.

       To compound the unreasonableness of his conduct and suspicion, by 10:30 a.m., when Dr.

Cumani told Defendant Queen that he was a surgeon and needed to get home to North Dakota--

and Defendant Queen ordered, “No, you’re not. You’re going to Richmond’s house. You’re not

to leave Richmond’s house”—Defendant Queen had already inspected the guns that Dr. Cumani

and Mr. Shehu had used earlier that morning, and he had written down the make, model, and



              Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                Page 23 of 30
relevant information concerning the guns. So, under the Tenth Circuit’s “detain-if-needed-to-

accomplish-the-purposes-of-law-enforcement” methodology, Defendant Queen already had all of

the information he needed for law enforcement purposes and there was no reason whatsoever to

detain Dr. Cumani and Mr. Shehu for another nine (9) hours, even if he had reasonable suspicion

to believe that a crime had been committed. But the objective information shows that, when he

gave orders directly to Dr. Cumani and Mr. Shehu, Defendant Queen had not seen a single

wounded or dead elk other than the ones that the Viles group had lawfully shot—and the only other

information he had were the comments of Brian Peters (who Defendant Queen knew to have

animus toward Mr. Richmond’s hunters) and Heath Worstell, both of whom admittedly had not

seen Dr. Cumani or Mr. Shehu shoot at anything that day.

       Finally, as of at least 10:30 a.m., Defendant Queen knew very well that, if at any time he

wanted to issue criminal citations to Dr. Cumani and Mr. Shehu, he knew exactly where and how

to find them—because he had their hunting license information. Proof positive of that fact is

that—in late January or early February, Defendant Queen called both Dr. Cumani and Mr. Shehu

and told them he would be serving citations to them. For that additional reason, there was no

reason whatsoever to have detained Dr. Cumani and Mr. Shehu at all, much less for the 9+ hours

they were detained.

       Dr. Cumani and Mr. Shehu had clearly established constitutional rights not to be detained.

At a bare minimum, the record presents a genuine issue of fact for trial as to whether, at 9:00 a.m.,

Defendant Queen even had a “reasonable suspicion” that a crime had been committed, much less

that Dr. Cumani and/or Mr. Shehu were the perpetrators. There is no qualified immunity that

protects Defendant Queen’s detention of these men in this situation and under these circumstances.

2.     There is no Qualified Immunity for Defendant Queen’s Wrongful Prosecution.



               Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                 Page 24 of 30
       The elements of malicious prosecution under a § 1983 claim in the Tenth Circuit are: (1)

the defendant caused the plaintiffs’ prosecution; (2) the original action terminated in favor of the

plaintiffs; (3) there was no probable cause to support the prosecution (which supplies the “malice”

element); and (4) the plaintiffs sustained damages.

       Elements 1, 2, and 4 are uncontroverted by Defendant Queen’s motion. The probable cause

analysis is objective—the question being whether the facts within Defendant Queen’s knowledge

and of which he had reasonably trustworthy information, were sufficient to warrant a reasonably

prudent person of reasonable caution to believe that at least three abandonment and waste crimes

had been committed (one each by Dr. Cumani, Mr. Shehu, and Mr. Viles) and that Dr. Cumani

and Mr. Shehu committed had the crimes.

       Defendant Queen’s claim that there is not a genuine issue of fact for trial as to whether

there was probable cause for these prosecutions is extraordinary in light of the record cited in

Section III above. Evidence in the record—much admitted by Defendant Queen—shows:

   •   Setting aside the well-documented anger, aggressiveness, combativeness, and agitation that

       Defendant Queen displayed toward Mr. Richmond’s hunting party on multiple occasions

       October 27, 2019—based on prior events—Defendant Queen’s “reasonably trustworthy

       information” on which he based probable cause was:

       •   From Brian Peters, who was two miles away from where the Viles group was hunting,

       •   And Mr. Peters admittedly did not see Dr. Cumani or Mr. Shehu shoot at or wound a

           bull elk or cow elk,

       •   Although Defendant Queen knew that Mr. Peters did not get along with Mr. Richmond

           or the people in his outfitting service.




              Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                Page 25 of 30
    •   Mr. Peters does not remember telling Defendant Queen that Dr. Cumani or Mr. Shehu

        shoot or wound a bull elk or cow elk,

    •   And Mr. Peters has never believed that Dr. Cumani or Mr. Shehu wounded or

        abandoned a bull elk or cow elk that day.

    •   Heath Worstell was a mile away from where the Viles group was hunting,

    •   And Mr. Worstell had no line of sight to the Viles group’s location.

    •   Mr. Worstell admits that he did not see Dr. Cumani or Mr. Shehu shoot or wound any

        elk, and

    •   Mr. Worstell did not tell Defendant Queen that he saw Dr. Cumani or Mr. Shehu shoot

        or wound any elk

•   Although Defendant Queen took dead elk to Mr. Richmond’s house on October 27, 2019

    and told Mr. Richmond that the elk in his truck were the elk that Dr. Cumani and Mr. Shehu

    had shot, he now claims that the elk he found on October 28 were the elk that Dr. Cumani

    and Mr. Shehu had shot, abandoned, and wasted.

•   Defendant Queen had no physical evidence that Mr. Shehu shot either of the elk that he

    (Queen) found on October 28

•   Defendant Queen had no eyewitness evidence that Mr. Shehu shot either of the elk that he

    (Queen) found on October 28

•   Defendant Queen had no hearsay evidence that Mr. Shehu shot either of the elk that he

    (Queen) found on October 28

•   Defendant Queen had no eyewitness evidence that Dr. Cumani shot either of the elk that

    he (Queen) found on October 28




           Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                             Page 26 of 30
   •   Defendant Queen had no hearsay evidence that Dr. Cumani shot either of the elk that he

       (Queen) found on October 28

   •   The only physical evidence that that Defendant Queen had to connect Dr. Cumani to the

       elk he (Queen) claims to have found on October 28 being is the bullet fragment that

       ballistics experts at the Wyoming Division of Criminal Investigation refused to identify to

       either Dr. Cumani’s or Mr. Shehu’s guns.

   •   Defendant Queen is unsure whether Dr. Cumani and Mr. Shehu were charged with waste

       and abandonment of the elk that were in the back of his truck when he went to Mr.

       Richmond’s house on October 27, 2019.

   •   Defendant Queen does not know which of Dr. Cumani or Mr. Shehu shot which of the elk

       that both were charged with having abandoned and wasted, or whether either of the elk was

       within the herd that “the Viles group” was hunting.

   •   At about 7:00-7:30 p.m. on October 27, 2019, after Defendant Queen had spoken to Mr.

       Richmond, Defendant Queen told Dr. Cumani that “everything was okay and he (Queen)

       was sorry to have held them up” and they could leave.

   •   At or about the same time, Defendant Queen told Mr. Shehu, “Yes, I’m sorry to have

       detained you here. You’re free to go. You did not shoot these elk.”

       Despite the foregoing, Defendant Queen’ motion argues that there is not a question of fact

as to whether there existed sufficient facts to warrant a reasonably prudent person of reasonable

caution to believe that at least three abandonment and waste crimes had been committed (one each

by Dr. Cumani, Mr. Shehu, and Mr. Viles) and that Dr. Cumani and Mr. Shehu committed had the

crimes. That argument lacks merit. There is an abundant record raising questions for trial as to

the existence of probable cause to support the prosecution of Dr. Cumani and Mr. Shehu.


              Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                Page 27 of 30
3.     Detention After Criminal Charges are Filed is not an Element of Wrongful

       Prosecution.

       Defendant Queen misreads the law in arguing that Dr. Cumani and Mr. Shehu have no

claim for wrongful prosecution because they were not arrested after they were charged. In

Thompson v. Clark, 596 U.S. 36 (2022), the Supreme Court explained that the gravamen of a

Fourth Amendment claim under 42 U.S.C. § 1983 is the wrongful institution of criminal

proceedings. The Court said nothing about the sequence of arrest, charge, and acquittal—only that

the proceedings must terminate in favor of the defendant that is charged.

       Tenth Circuit law makes this clear, as well. In Myers v. Koopman, 738 F.3d 1190, 1195

(10th Cir. 2013), the Circuit explained that detention without probable cause gives rise to a Fourth

Amendment claim for false imprisonment, while institution of legal process without probable

cause gives rise to a Fourth Amendment claim for malicious prosecution.

       Were Defendant Queen’s reading of the law correct, the would be no claim for wrongful

prosecution under 42 U.S.C. § 1983 where a criminal defendant is served with a criminal

indictment and forced to stand trial without ever having been arrested or otherwise detained or

confined. Such a rule would completely eliminate the possibility that a person wrongfully charged

with and exonerated of a white collar crime could ever sue for wrongful prosecution, regardless

how malicious was the intention of law enforcement or how false the charges.

V.     CONCLUSION

       The record contains extensive evidence which shows that Defendant Queen detained,

charged, and caused the prosecution of Blendi Cumani, M.D. and Roland Shehu out of boiled-over

anger at the outfitter they had hired to take them on an elk hunt—not because he had evidence

amounting to reasonable suspicion or probable cause that they had committed any crimes. A



              Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                Page 28 of 30
prompt and complete acquittal by a Park County jury—including an acquittal of their guide, Tyler

Viles—puts an exclamation point on that fact. Dr. Cumani and Mr. Shehu had clearly established

Fourth Amendment rights to be free from such actions by a game warden operating under the color

and authority of the laws of the State of Wyoming—and he has no immunity for such conduct.

        There is an ample record of facts for trial on each of the elements of the claims asserted

under 42 U.S.C. § 1983. Dr. Cumani and Mr. Shehu respectfully submit that Defendant Queen’s

motion should be denied and this matter should proceed to a jury trial.1

        DATED this 1st day of April, 2024.


                                                          /s/ Bradley L. Booke
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                                                         Attorney for Plaintiffs




1
   Plaintiffs also respectfully submit that the motion of the Park County Attorney to quash the subpoena
duces tecum served to that office, so that several of the facts asserted in Defendant Queen’s motion can be
vetted and tested.

               Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                 Page 29 of 30
                                   CERTIFICATE OF SERVICE

       I certify that I served the foregoing pleading this 1st day of April, 2024, to:

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              Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary Judgment
                                                Page 30 of 30
